                                                   Case 2:10-cv-02525-MEA Document 1 Filed 11/22/10 Page 1 of 6



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                                    10                           UNITED STATES DISTRICT COURT
                                    11                               DISTRICT OF ARIZONA
                                    12
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                                    13        Katia S. Coury                                     Case Number:
                 Phoenix, Arizona




                                    14                             Plaintiff,                    Complaint For Damages
                                    15        v.
                                                                                                 Jury Trial Demanded
                                    16        Simm Associates Inc.
                                    17
                                                                   Defendant.
                                    18
                                    19
                                    20                                            INTRODUCTION
                                    21   1.        The United States Congress has found abundant evidence of the use of
                                    22             abusive, deceptive, and unfair debt collection practices by many debt
                                    23             collectors, and has determined that abusive debt collection practices
                                    24             contribute to the number of personal bankruptcies, to marital instability, to the
                                    25             loss of jobs, and to invasions of individual privacy. Congress wrote the Fair
                                    26             Debt Collection Practices Act, 15 U.S.C. § 1692 et seq. (hereinafter
                                    27             “FDCPA”), to eliminate abusive debt collection practices by debt collectors,
                                    28             to insure that those debt collectors who refrain from using abusive debt

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                                              Complaint                             - 1 of 6 -
                                                 Case 2:10-cv-02525-MEA Document 1 Filed 11/22/10 Page 2 of 6



                                     1           collection practices are not competitively disadvantaged, and to promote
                                     2           consistent State action to protect consumers against debt collection abuses.
                                     3   2.      Katia Coury, (Plaintiff), through Plaintiff's attorneys, brings this action to
                                     4           challenge the actions of Simm Assocaites Inc., (“Defendant”), with regard to
                                     5           attempts by Defendant to unlawfully and abusively collect a debt allegedly
                                     6           owed by Plaintiff, and this conduct caused Plaintiff damages.
                                     7   3.      Plaintiff makes these allegations on information and belief, with the exception
                                     8           of those allegations that pertain to a plaintiff, or to a plaintiff's counsel, which
                                     9           Plaintiff alleges on personal knowledge.
                                    10   4.      While many violations are described below with specificity, this Complaint
                                    11           alleges violations of the statutes cited in their entirety.
                                    12   5.      Unless otherwise stated, Plaintiff alleges that any violations by Defendant
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                                    13           were knowing and intentional, and that Defendant did not maintain
                 Phoenix, Arizona




                                    14           procedures reasonably adapted to avoid any such violation.
                                    15                                     JURISDICTION AND VENUE
                                    16   6.      Jurisdiction of this Court arises pursuant to 28 U.S.C. § 1331, 15 U.S.C. §
                                    17           1692(k), and 28 U.S.C. § 1367 for any supplemental state claims.
                                    18   7.      This action arises out of Defendant's violations of the Fair Debt Collection
                                    19           Practices Act, 15 U.S.C. §§ 1692 et seq. (“FDCPA”)
                                    20   8.      Because Defendant does business within the State of Arizona, personal
                                    21           jurisdiction is established.
                                    22   9.      Venue is proper pursuant to 28 U.S.C. § 1391.
                                    23                                                 PARTIES
                                    24   10.     Plaintiff is a natural person who resides in the City of Mesa, County of
                                    25           Maricopa, State of Arizona.
                                    26   11.     Defendant is located in the City of Newark, the County of New Castle, and
                                    27           the State of Delaware.
                                    28

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                                              Complaint                             - 2 of 6 -
                                                Case 2:10-cv-02525-MEA Document 1 Filed 11/22/10 Page 3 of 6



                                     1   12.   Plaintiff is obligated or allegedly obligated to pay a debt, and is a “consumer”
                                     2         as that term is defined by 15 U.S.C. § 1692a(3).
                                     3   13.   Defendant is a person who uses an instrumentality of interstate commerce or
                                     4         the mails in a business the principal purpose of which is the collection of
                                     5         debts, or who regularly collects or attempts to collect, directly or indirectly,
                                     6         debts owed or due or asserted to be owed or due another and is therefore a
                                     7         debt collector as that phrase is defined by 15 U.S.C. § 1692a(6).
                                     8                                       FACTUAL ALLEGATIONS
                                     9   14.   At all times relevant to this matter, Plaintiff was an individual residing within
                                    10         the State of Arizona.
                                    11   15.   At all times relevant, Defendant conducted business within the State of
                                    12         Arizona.
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                                    13   16.   Sometime before September 2010, Plaintiff is alleged to have incurred certain
                 Phoenix, Arizona




                                    14         financial obligations.
                                    15   17.   These financial obligations were primarily for personal, family or household
                                    16         purposes and are therefore a “debt” as that term is defined by 15 U.S.C.
                                    17         §1692a(5).
                                    18   18.   Sometime thereafter, but before September 2010, Plaintiff allegedly fell
                                    19         behind in the payments allegedly owed on the alleged debt. Plaintiff currently
                                    20         takes no position as to the validity of this alleged debt.
                                    21   19.   Subsequently, but before September 2010, the alleged debt was assigned,
                                    22         placed, or otherwise transferred, to Defendant for collection.
                                    23   20.   On or about September 2010, Defendant called Plaintiff’s daughter in an
                                    24         attempt to reach Plaintiff in an attempt to collect the alleged debt.
                                    25   21.   This communication to Plaintiff was a “communication” as that term is
                                    26         defined by 15 U.S.C. § 1692a(2), and an “initial communication” consistent
                                    27         with 15 U.S.C. § 1692g(a).
                                    28

                                          ______________________________________________________________________________________________________
                                           Complaint                                - 3 of 6 -
                                                Case 2:10-cv-02525-MEA Document 1 Filed 11/22/10 Page 4 of 6



                                     1   22.   Defendant failed within five days after its initial communication with
                                     2         Plaintiff, to provide written notification containing a statement that unless
                                     3         Plaintiff, within thirty days after receipt of that notice, disputed the validity of
                                     4         the debt, or any portion thereof, Defendant would assume the debt was valid,
                                     5         or failed within five days after its initial communication with Plaintiff to
                                     6         provide a written notice containing a statement that if Plaintiff notified
                                     7         Defendant in writing, within the thirty-day period that the debt, or any portion
                                     8         thereof, was disputed, Defendant would obtain verification of the debt or a
                                     9         copy of a judgment against Plaintiff and a copy of such verification or
                                    10         judgment would be mailed to Plaintiff by Defendant and that Defendant
                                    11         would provide Plaintiff with the name and address of the original creditor.
                                    12         This omission by Defendant violated 15 U.S.C. § 1692g.
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                                    13   23.   During this conversation, Defendant’s agent was made aware they were
                 Phoenix, Arizona




                                    14         speaking to Plaintiff’s daughter and not Plaintiff.
                                    15   24.   The number called has never been associated with Plaintiff in any way.
                                    16   25.   During this conversation, Defendant’s agent discussed Plaintiff’s account with
                                    17         Plaintiff’s daughter in great detail.
                                    18   26.   Plaintiff’s daughter is a third party, as that phrase is anticipated by 15 U.S.C.
                                    19         §1692c(b). This call was a “communication” as 15 U.S.C. §1692a(2) defines
                                    20         that term. This communication to a third party was without prior consent, or
                                    21         the express permission of a court of competent jurisdiction, or as reasonably
                                    22         necessary to effectuate a post judgment judicial remedy, and was in
                                    23         connection with the collection of the alleged debt, and with a person other
                                    24         than Plaintiff, Plaintiff's attorney, a consumer reporting agency, the creditor,
                                    25         the attorney of the creditor, or the attorney of the debt collector.                        This
                                    26         communication to this third party was not provided for in 15 U.S.C. § 1692b.
                                    27         By making said communication to a third party, Defendant violated 15 U.S.C.
                                    28         § 1692c(b).

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                                           Complaint                                - 4 of 6 -
                                                Case 2:10-cv-02525-MEA Document 1 Filed 11/22/10 Page 5 of 6



                                     1   27.   Through this conduct, Defendant communicated with a person other than the
                                     2         consumer for the purported purpose of acquiring location information and
                                     3         failed to identify himself, or state that was is confirming or correcting location
                                     4         information concerning the consumer, or identified his employer without
                                     5         express request. Consequently, Defendant violated 15 U.S.C. § 1692b(1).
                                     6   28.   Defendant communicated with a person other than the consumer for the
                                     7         purported purpose of acquiring location information and stated that the
                                     8         consumer owed a debt.               Consequently, Defendant violated 15 U.S.C. §
                                     9         1692b(2).
                                    10   29.   During this conversation, Defendant left “a message” with Plaintiff’s daughter
                                    11         to call Defendant back, and left Defendant’s phone number.
                                    12   30.   Leaving a message and call back number with an unauthorized party is not a
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                                    13         permitted contact described in 15 U.S.C. § 1692b, and therefore Defendant
                 Phoenix, Arizona




                                    14         violated 15 U.S.C. § 1692b.
                                    15   31.   Due to Defendant’s abusive actions concentrated in a short amount of time,
                                    16         caused Plaintiff to suffer actual damages in the form of mental anguish
                                    17         manifesting in symptoms including but not limited to: stress, anxiety,
                                    18         nervousness, feelings of helplessness, fear of answering the telephone,
                                    19         embarrassment and humiliation greatly affecting her personal relationships.
                                    20                                          CAUSES OF ACTION
                                    21                                                 COUNT I
                                    22              VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
                                    23                                      15 U.S.C. §§ 1692 ET SEQ.
                                    24   32.   Plaintiff incorporates by reference all of the above paragraphs of this
                                    25         Complaint as though fully stated herein.
                                    26   33.   The foregoing acts and omissions constitute numerous and multiple violations
                                    27         of the FDCPA, including but not limited to each and every one of the above-
                                    28         cited provisions of the FDCPA, 15 U.S.C. § 1692 et seq.

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                                           Complaint                                - 5 of 6 -
                                                Case 2:10-cv-02525-MEA Document 1 Filed 11/22/10 Page 6 of 6



                                     1   34.   As a result of each and every violation of the FDCPA, Plaintiff is entitled to
                                     2         any actual damages pursuant to 15 U.S.C. § 1692k(a)(1); statutory damages in
                                     3         an amount up to $1,000.00 pursuant to 15 U.S.C. § 1692k(a)(2)(A); and,
                                     4         reasonable attorney’s fees and costs pursuant to 15 U.S.C. § 1692k(a)(3) from
                                     5         Defendant.
                                     6                                         PRAYER FOR RELIEF
                                     7   WHEREFORE, Plaintiff prays that judgment be entered against Defendant, and
                                     8   Plaintiff be awarded damages from Defendant, as follows:
                                     9                                                 COUNT I
                                    10                            FAIR DEBT COLLECTION PRACTICES ACT
                                    11                                      15 U.S.C. §§ 1692 ET SEQ.
                                    12   35.   An award of actual damages pursuant to 15 U.S.C. § 1692k(a)(1);
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                                    13   36.   An award of statutory damages of $1,000.00 pursuant to 15 U.S.C. § 1692k(a)
                 Phoenix, Arizona




                                    14         (2)(A);
                                    15   37.   An award of costs of litigation and reasonable attorney’s fees, pursuant to 15
                                    16         U.S.C. § 1692k(a)(3).
                                    17                                            TRIAL BY JURY
                                    18   38.   Pursuant to the seventh amendment to the Constitution of the United States of
                                    19         America, Plaintiff is entitled to, and demands, a trial by jury.
                                    20
                                         Date: November 22, 2010                                 Hyde & Swigart
                                    21
                                                                                                 By:__/s/ David J. McGlothlin_
                                    22
                                                                                                 David J. McGlothlin
                                    23                                                           Attorney for the Plaintiff
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                                           Complaint                                - 6 of 6 -
